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NEIL C. EVANS (State Bar NO. 105669)
LAW OFFICES OF NEIL C. EVANS

13351 D Riverside Drive, Ste. 612
Sherman Oaks, CA 91423

(818) 802-8333

Attorney for DEFENDANT
CREDITORS SPECIALTY SERVICE, INC.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

KAREN TOMLIN, Case NO.: 2:15-CV-08544-JRW

RESPONSE TO OSC RE SANCTIONS
AND DECLARATION OF NEIL C.
EVANS IN RESPONSE TO

OSC RE SANCTIONS

Plaintiff,

VS.

CREDITORS SPECIALTY
SERVICE, ET AL.,

Defendants.

vv\/V\./\/V\_/V\/\_/\_/VVV

 

Defendant hereby responds to the OSC re Sanctions
against lead counsel, for the reasons set forth in the
attached Declaration of Neil C. Evans.

Defendant has also filed this date a Notice that
Defendant CREDITORS SPECIALTY SERVICE, INC. ("Defendant"),
filed a Chapter ll Bankruptcy on August ll, 2016, as Case
No.: 2:16-bk-20721, in the United States Bankruptcy Court,
Central District, which Bankruptcy is still pending, and

that this action is presently stayed as a result of this

 

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filing.

Dated: October 4,

2016

LAW OFFICES OF NEIL C. EVANS

'NEIL C. EVANS _
Attorney for Defendant
CREDITORS SPECIALTY SERVICE, INC.

 

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DECLARATION §§ §§;L g4 §y§§§

I, NEIL C. EVANS, declares

1. I am an attorney at law, licensed to practice
before all of the Courts of the State of California and of
this Central District of the State of California, and I am
attorney of record for the sole Defendant in this action,
Creditors Specialty Service, Inc.

2. .The parties were diligently conducting
settlement negotiations in May, June, and July, 2016, and
had agreed to a dollar amount of settlement ($3,000.00)
before the deadline to complete ADR under the Trial Manage-
ment Order(s), but had not concluded the terms by which that
amount would be paid. These negotiations had occurred
directly between counsel, who have had an amicable relation-
ship and did not believe that the time and expense of a
formal mediation was necessary. The inability to consummate
the settlement was not the fault of either lead counsel;
Defendant was experiencing financial difficulties which
prevented me from committing to a precise payment arrange~
ment for the 63,000 settlement. These financial
difficulties were the only obstacle to settlement and there
was no other obstacle to settlement.

3. On August ll,'2616, l filed a Chapter ll
Bankruptcy for Defendant Creditors Specialty Service, Inc.
as Case No. 2:16-bk-20721. That proceeding is still pending.

Because of the volume of work associated with the Chapter 11

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filing, I erred and failed to file a Notice of Bankruptcy
Filing and Stay in this action. This oversight was not
intentional and I have now cured that oversight. lt was
solely the result of the rather overwhelming filing
requirements for this proceeding and an erroneous belief
that such filing had already occurred in this action. There
are/were over 10 actions pending of a similar nature against
my client and I thought I had filed the Notice in this
action along with many others.

4. I respectfully request that the Court
discharge the OSC against counsel based upon the foregoing
facts and events.

5. I apologize for any delay in filing the Notice
of Bankruptcy Filing to the Court and counsel.

I declare under penalty of perjury under the laws
of the United States that the foregoing is true and correct.

Executed at Los Angeles, California on

%//YSW

UEIL C. EVANS

 

